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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------X

George Galgano,
                          Plaintiff,                                 16 CV 3572 (KMK)

        -against-

County of Putnam, New York, et al.,                                  CALENDAR NOTICE
                                                                     RESCHEDULING
                          Defendant(s).                              CONFERENCE
----------------------------------------------------X

        This matter is scheduled for a conference on Thursday, November 4, 2021 at 11 :30. The

Court would like to reschedule the conference to November 16, 2021 at 10:00 via telephone.

The conference will be both a pre-motion conference as well as a brief conference on the Rule 72

objections that the parties submitted in August.

NOTICE OF TELECONFERENCE INFORMATION: Counsel shall call the following number
at the designated time: Meeting Dial-In Number (USA toll-free): (888) 363-4749 Access Code:
7702195 Please enter the conference as a guest by pressing the pound sign(#). Given that much
of the Court is operating remotely and has limited mail capability, counsel involved in any prose
cases shall mail a copy of this Notice to or otherwise inform the prose party of the above
teleconference information. Counsel in any pro se inmate cases shall ensure that the pro se party
is on the line before calling the above-referenced number. Any requests for adjournments should
be filed as soon as possible and clearly explain why the conference should be adjourned.

Dated: November 3, 2021
       White Plains, New York




                                                        Kenneth M. Karas, U.S.D.J
